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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


BOBBY GRUBBS,
                                                                      9:16-CV-1476
                                              Plaintiff,               (TJM/DJS)

                        -against-

STEVEN GRIMALDI et al..

                                           Defendants.




              MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
             PARTIAL SUMMARY JUDGMENT PURSUANT TO RULE 56




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                                PRELIMINARY STATEMENT

       Defendants Jon Miller, Richard Adams, and Vonda Johnson, by their attorney, Barbara D.

Underwood, Attorney General of the State of New York, Louis Jim, of counsel, submit this

memorandum of law in support of their motion for summary judgment pursuant to Federal Rule

of Civil Procedure 56. Plaintiff claims that the foregoing defendants acted deliberately indifferent

to his serious medical needs in violation of the Eighth Amendment. Plaintiff’s claims against Dr.

Miller arise from plaintiff’s incarceration at Coxsackie Correctional Facility (“Coxsackie C.F.”),

and plaintiff’s claims against Dr. Johnson and Dr. Adams arise from plaintiff’s incarceration at

Clinton Correctional Facility (“Clinton C.F.”). For the reasons set forth herein and in the

accompanying submissions, the foregoing defendants are entitled to summary judgment.




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                                      STATEMENT OF FACTS1

                  Plaintiff Did Not Appeal Any Grievance Relating To His Claims
                  Against Dr. Johnson To The Central Office Review Committee

          In accordance with the federal Prison Litigation Reform Act (“PLRA”), the New York

State Department of Corrections and Community Supervision (“DOCCS”) has established the

Inmate Grievance Program (“IGP”). See 7 N.Y. Code of Rules & Regs. § 701 et seq.; see also

DOCCS Directive #4040.2 To exhaust the IGP, a prisoner must complete three steps: (1) plaintiff

files a complaint (i.e. grievance) with the Inmate Grievance Review Committee (“IGRC”) clerk

at the facility; (2) an appeal of the IGRC determination to the superintendent; and (3) an appeal

of the superintendent’s determination to the Central Office Review Committee (“CORC”). See 7

NYCRR § 701.1. Plaintiff is fully familiar with DOCCS’s grievance process. Jim Decl. Ex. A

(“Pl.’s Dep.”) at 14-15.3

          Plaintiff’s medical claims against Dr. Miller arise from alleged events occurring in

January 2014 during plaintiff’s incarceration at Coxsackie C.F. See Am. Compl. ¶¶ 33-34; Pl.’s

Dep. at 54-55. While housed at Coxsackie C.F., plaintiff submitted one appeal to CORC from a

facility level grievance decision. Seguin Decl. ¶¶ 18-19 and Ex. B. On January 2, 2014, plaintiff

filed Grievance No. CX-18013-14 (“Assault’), in which he complained of an alleged assault by

security staff. Seguin Decl. ¶ 20 and Ex. C. CORC rendered a final determination on that

grievance on May 21, 2014. Seguin Decl. ¶ 20 and Ex. C. The grievance does not contain any




1
 The facts below are set forth in the accompanying Declarations of Jon Miller, Richard Adams,
Vonda Johnson, Rachel Seguin, and Louis Jim; any exhibits annexed thereto; and all prior
pleadings and proceedings herein.
2
    A true and correct copy of Directive #4040 is attached as Exhibit A to the Seguin Declaration.
3
    Citations to the deposition transcript refer to the original pagination.


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claim that Dr. Miller, or any other DOCCS employee, was indifferent to plaintiff’s medical

needs. Seguin Decl. ¶ 21 and Ex. C.

        Plaintiff’s Medical Care at Coxsackie Correctional Facility In January 20144

       Plaintiff medical indifference claim against Dr. Miller arise from the medical treatment

that Dr. Miller provided to plaintiff on January 13, 2014 at Coxsackie C.F. Am. Compl. ¶¶ 33-34;

Pl.’s Dep. at 53-55. Dr. Miller examined plaintiff after plaintiff’s family members called the

facility and claimed that their brother was in severe chest pain and needed an x-ray. Miller Decl.

¶ 9; DOCCS 260. This visit was not made pursuant to SHU policy in which inmates may request

medical evaluation at the time of daily nursing rounds, which occur three times a day. Miller

Decl. ¶ 9. Plaintiff requested a medical examination due to worsening neuropathy pain. Miller

Decl. ¶ 10; DOCCS 260.

       Due to the irregular of the request for the medical examination, Dr. Miller was unable to

obtain security staff to open the cell door to examine plaintiff in his cell. Miller Decl. ¶ 10.

Plaintiff admitted that Dr. Miller would have been able to see plaintiff’s whole body and whole

face. Pl.’s Dep. at 55. Dr. Miller was also able to make a physical examination of plaintiff,

finding that: (a) plaintiff had full functional ability without evidence of guarding or splinting; (b)

palpitation of plaintiff’s rib cage did not reveal any reproducible tenderness; (c) plaintiff did not

have any significant bony protrusions on plaintiff’s right face; and (d) that plaintiff was able to

open and close his jaw without difficulty during the examination and interview. Miller Decl. ¶




4
  A true and correct copy of the relevant portions of plaintiff’s certified medical records is
attached as Exhibit B to the Jim Declaration. Citations beginning with “DOCCS” refer to the
bates stamped medical records of plaintiff.


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11; DOCCS 260. Dr. Miller also made a request for radiographic evaluation of the ribs. Miller

Decl. ¶ 11; DOCCS 260.5 Plaintiff left Coxsackie C.F. on February 3, 2014. DOCCS 257.

                   Plaintiff’s Medical Care At Clinton Correctional Facility
                     From September 2014 Through Mid-September 2016

       Plaintiff entered Clinton Correctional Facility (“Clinton C.F.”) in or about September

2014. Am. Compl. ¶ 72; Pl.’s Dep. at 56. The medical conditions forming the basis of his claims

against Dr. Adams and Dr. Johnson relate to plaintiff’s alleged facial facture and callouses on

plaintiff’s feet. Am. Compl. ¶ 72-74; Pl.’s Dep. at 57-58 and 62. Plaintiff believes that he should

have been referred to a specialist or received medical shoes. Pl.’s Dep. at 59.

       On October 31, 2014, plaintiff saw Dr. Adams for a list of medical complaints. Adams

Decl. ¶ 11; DOCCS 184. Among other things, plaintiff claimed that he had an old maxillary

fracture and stated: “I want it fixed. It reminds me of the nastiness of it all.” Adams Decl. ¶ 11;

DOCCS 184. Dr. Adams examined plaintiff, and Dr. Adams did not find any gross asymmetry of

the face. Adams Decl. ¶ 11; DOCCS 184. Although plaintiff did not complain of pain or

disability, Dr. Adams prescribed an anti-inflammatory for any pain that plaintiff might be

experiencing. Adams Decl. 11; DOCCS 184.

       During Dr. Adams’s examination of plaintiff on April 8, 2015, plaintiff sought a referral

for an ENT surgeon, and he complained of numbness of the face when doing his hair or brushing

his teeth. Plaintiff said he needed “facial reconstruction.” Adams Decl. ¶ 14; DOCCS 170. Dr.

Adams responded that plaintiff was previously denied a referral and recommended that plaintiff

wait for the results of his pending grievance about the denial. Adams Decl. ¶ 14; DOCCS 170.



5
 The record also includes several instances in which various medical staff at Coxsackie C.F.
addressed plaintiff’s medical needs, including the prevision of prescription medications, allergy
medication, and blood test monitoring after January 13, 2014, and before he entered Upstate
Correctional Facility on February 3, 2014. See Miller Decl. ¶¶ 13-17; DOCCS 257-258.


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       At the same appointment, plaintiff said he needed foot callouses fixed. Adams Decl. ¶ 14;

DOCCS 170. In response, Dr. Adams cut away and shaved off plaintiff’s callouses with a scalpel

and instructed plaintiff on proper foot care. Adams Decl. ¶ 14; DOCCS 170. Dr. Adams did not

see a need for special issue or medical boots. Adams Decl. ¶ 14; DOCCS 170.

       At a medical examination on September 30, 2015, plaintiff complained of atypical face

pain arising from an alleged December 2013 assault. Adams Decl. ¶ 17; DOCCS 150. Dr.

Adams’s examination noted that plaintiff had full facial function, without any defects or

asymmetry. Adams Decl. ¶ 17; DOCCS 150. Dr. Adams saw plaintiff again on January 19, 2016,

when plaintiff complained that he did not get medical boots. Adams Decl. ¶ 19; DOCCS 137.

After observing some thickening of callouses, a cavitary indentation, and a mild buildup of skin

on plaintiff’s feet, Dr. Adams recommended that plaintiff soak his feet and use a Pumi bar to

remove the build-up of skin. Adams Decl. ¶ 19; DOCCS 137.

       Thereafter, on April 15, 2016, plaintiff told Dr. Adams that plaintiff’s “main issue” was

right-sided foot pain and pain in his right elbow. Adams Decl. ¶ 20; DOCCS 131. Upon

examination, Dr. Adams did not see any weakness or decrease in range of motion, nor did Dr.

Adams note any problems with plaintiff’s walking ability. Eleven days later, on April 26, Dr.

Adams examined plaintiff to address plaintiff’s HIV-related issues; they did not discuss any

issues relating to plaintiff’s feet or face. Adams Decl. ¶ 22; DOCCS 125.6




6
  The record also includes several instances in which Dr. Adams prescribed medications,
approved vaccines, and authorized medical consults to address plaintiff’s other medical
conditions, including his HIV-positive status and neuropathy. See Adams Decl. ¶¶ 12-13, 15-16,
18, 20, 23; DOCCS at 123, 131, 147, 155, 158, 172, 174. Plaintiff admits to receiving, among
other things, his neuropathy and HIV medication. Pl.’s Dep. at 64. Plaintiff also admits to
receiving examinations by an infectious disease doctor. Pl.’s at 63-64.


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       Plaintiff’s claims against Dr. Johnson are premised on the lack of response to alleged

letters that plaintiff claims he wrote to Dr. Johnson. Compl. ¶ 76; Pl.’s Dep. at 65-66. It is

indisputable that Dr. Johnson never personally examined plaintiff. Johnson Decl. ¶ 5; Pl.’s Dep.

at 67. Indeed, plaintiff admits that he wrote to Dr. Johnson, but that Dr. Johnson never provided a

medical examination of plaintiff. Pl.’s Dep. at 66-67. Dr. Johnson did not personally respond to

plaintiff’s letters. Compl. ¶ 76; Johnson Decl. ¶ 14.




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                                            ARGUMENT7

         Summary judgment is warranted “if the movant shows that there is no genuine dispute as

to any material facts and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477

U.S. 242 (1986); Sec. Ins. Co. of Hartford v. Old Dominion Freight Line, Inc., 391 F.3d 77 (2d

Cir. 2004). A fact is “material” if it “might affect the outcome of the suit under the governing

law.” Anderson, 477 U.S. at 248; see also Jeffreys v. City of New York, 426 F.3d 549, 553 (2d Cir.

2005). A material fact is genuinely in dispute “if the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Anderson, 477 U.S. at 248.

         The moving party bears an initial burden of demonstrating that there is no genuine

dispute of material fact to be decided with respect to any essential element of the claim in issue,

and the failure to meet this burden warrants denial of the motion. Anderson, 477 U.S. at 250 n.4;

Sec. Ins. Co., 391 F.3d at 83. If this initial burden is met, the opposing party must show, through

affidavits or otherwise, that there is a material dispute of fact for trial. Fed. R. Civ. P. 56(e);

Celotex, 477 U.S. at 324; Anderson, 477 U.S. at 250. A court must resolve any ambiguities, and

draw all inferences, in a light most favorable to the nonmoving party. Anderson, 477 U.S. at 255;

Jeffreys, 426 F.3d at 553; Wright v. Coughlin, 132 F.3d 133, 137-38 (2d Cir. 1998).




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    All unpublished cases cited herein are attached as Appendix A to this memorandum of law.


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I.     PLAINTIFF FAILED TO EXHAUST HIS ADMINISTRATIVE REMEDIES WITH RESPECT TO
       HIS CLAIMS AGAINST DR. MILLER

       The PLRA governs federal civil rights litigation by prison inmates by, inter alia, It

barring a prisoner’s federal lawsuit unless he first exhausts available administrative remedies.

The PLRA states, in pertinent part:

               No action shall be brought with respect to prison conditions under
               section 1983 of this title, or any other Federal law, by a prisoner
               confined in any jail, prison, or other correctional facility until such
               administrative remedies as are available are exhausted.

42 U.S.C. § 1997e(a). This statute requires administrative exhaustion prior to commencing a

federal civil rights action challenging prison conditions. See Porter v. Nussle, 534 U.S. 516, 532

(2002) (prisoner must exhaust administrative remedies on all constitutional claims prior to

bringing suit in federal court). The failure to comply with the mandated administrative

exhaustion requirements of the PLRA prior to bringing suit requires dismissal of the complaint.

See Neal v. Goord, 267 F.3d 116, 117 (2d Cir. 2001). The Second Circuit emphasized that in all

cases in which exhaustion is required, it must occur prior to the initiation of litigation. Id. at 122.

       Even if the administrative grievance process does not permit money damages and the

prisoner seeks only money damages, the exhaustion requirement will still apply. See Giano v.

Goord, 380 F.3d 670, 675 (2d Cir. 2004); see also Woodford v. Ngo, 548 U.S. 81, 85 (2006) (“[A]

prisoner must now exhaust administrative remedies even where the relief sought [monetary

damages] cannot be granted by the administrative process.”). In Woodford, the Supreme Court

held that the PLRA requires proper exhaustion before a prisoner may proceed in federal court.

Woodford, 548 U.S. at 93.”[T]he PLRA requires ‘proper exhaustion,’ which ‘means using all

steps that the agency holds out, and doing so properly.’” Ruggiero v. County of Orange, 467 F.3d

170, 176 (2d Cir. 2006) (quoting Woodford, 548 U.S. at 90) (emphasis in original). Moreover,




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exhaustion “demands compliance with an agency’s deadlines and other critical procedural rules.”

Id. Therefore, “untimely or otherwise procedurally defective attempts to secure administrative

remedies” do not satisfy the PLRA’s exhaustion requirement. Id.

       New York State prison inmates have a procedure available to seek administrative redress

for their grievances. See 7 NYCRR § 701 et seq.; see also Cruz v. Jordan, 80 F. Supp. 2d 109,

117-18 (S.D.N.Y. 1999) (detailing DOCCS grievance procedures). These regulations are

mirrored, with minor refinements, in DOCCS Directive #4040. Seguin Declaration ¶ 4.

DOCCS’s Inmate Grievance Program affords every inmate “an orderly, fair, simple and

expeditious method of resolving grievances.” 7 NYCRR § 701.1(a). An inmate may grieve any

complaint about the substance or application of any written or unwritten policy, regulation,

procedure or rule of the prison system, as well as complaints of employee misconduct “meant to

annoy, intimidate or harm an inmate.” Id. at § 701.2(a-e).

       The DOCCS grievance process consists of a three-step grievance and appeal procedure. 7

NYCRR § 701.5. First, an inmate must file a grievance with the IGRC within twenty-one

calendar days of the alleged occurrence for an attempt at informal resolution. Id. § 701.5(a) and

(b). Next, an inmate may appeal an adverse decision to the prison superintendent by completing

and signing the appeal section of the IGRC response form and submitting it within seven days of

receipt. Id. § 701.5(c)(1). The superintendent has twenty calendar days to respond to the appeal.

Id. § 701.5(c)(3). Finally, an inmate may appeal the superintendent’s decision to CORC by

appealing the superintendent’s decision within seven days of receipt. Id. § 701.5(d). CORC is the

final appellate level of IGP. Seguin Dec. ¶ 11. Only after pursuing all three levels of review will a

claim be considered fully exhausted under the PLRA, entitling a prisoner to seek relief pursuant

to § 1983 in federal court. See Reyes v. Punzal, 206 F. Supp. 2d 431, 432 (W.D.N.Y. 2002).




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       DOCCS also provides for an expedited procedure for the review of grievances alleging

harassment or misconduct by DOCCS employees. See 7 N.Y.C.R.R. § 701.8. A grievance that

falls under this category will be forwarded to the superintendent directly. Id. § 701.8(b). The

superintendent will have twenty-five calendar days to render a response. Id. § 701.8(f). While the

expedited procedure allows for direct forwarding of such a grievance to the Superintendent, the

prisoner must still initiate the grievance process by filing a grievance in accordance with §

701.5(a). Id. § 701.8(a). If an inmate fails to receive a response from the Superintendent within

the specified time, the failure to respond may be construed as a denial, and the prisoner must still

appeal to CORC in order to exhaust his administrative remedies. Id. § 701.8(g). Finally, while

the expedited procedure allows for direct forwarding of such a grievance to the superintendent of

the facility, a prisoner must still appeal a negative determination to CORC in order to exhaust his

administrative remedies before filing suit. Id. §§ 701.8(h)-(i).

       Although plaintiff is familiar with DOCC’s grievance process (Pl.’s Dep. at 14-15), he

failed to avail himself of this process with respect to his claim against Dr. Miller. While at

Coxsackie C.F., plaintiff filed only one grievance that was appealed to CORC, but that grievance

was unrelated to any alleged conduct by Dr. Miller. Seguin Decl. ¶¶ 18-19 and Ex. B. CORC

rendered a final determination on Grievance No. CX-18013-14 (“Assault’), which makes a claim

of assault by security staff, on May 21, 2014. Seguin Decl. ¶ 20 and Ex. C. CORC rendered a

final determination on that grievance on May 21, 2014. Seguin Decl. ¶ 20 and Ex. C. The

grievance, however, does not contain any claim that Dr. Miller was indifferent to plaintiff’s

medical needs. Seguin Decl. ¶ 21 and Ex. C. Plaintiff failed to exhaust his claims against Dr.

Miller. For this reason alone, Dr. Miller is entitled to summary judgment.




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II.     DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON PLAINTIFF’S EIGHTH
        AMENDMENT DELIBERATE INDIFFERENCE CLAIMS

        To state a claim of medical deliberate indifference under the Eight Amendment, a “plaintiff

must allege conduct that is ‘repugnant to the conscience of mankind’ or ‘incompatible with the

evolving standards of decency that mark the progress of a maturing society.’” Ross v. Kelly, 784 F.

Supp. 35, 44 (W.D.N.Y. 1992), aff’d, 970 F.2d 896 (2d Cir. 1992) (quoting Estelle v. Gamble, 429

U.S. 97, 102, 105-06 (1976)). “The deliberate indifference standard for denial of medical care

requires demonstration of: (1) a sufficiently serious deprivation, and (2) deliberate indifference with a

sufficiently culpable state of mind.” Hathaway v. Coughlin, 37 F.3d 63, 66 (2d Cir. 1994) (internal

quotation marks omitted). A successful claim for deliberate indifference requires the plaintiff to show

both an objective and subjective component.

        “The objective component of an Eighth Amendment deliberate indifference claim requires

that the alleged deprivation must be sufficiently serious, in the sense that a condition of urgency, one

that may produce death, degeneration, or extreme pain exists.” Hill v. Curcione, 657 F.3d 116, 122

(2d Cir. 2011) (quoting Hathaway, 99 F.3d at 553) (internal quotation marks omitted). Determining

whether a deprivation is sufficiently serious involves two inquiries. First, the court will look at

whether the plaintiff was actually deprived of adequate medical care. Hill, 657 F.3d at 122. Prison

officials who act “reasonably” in response to the inmate’s health risk will not be found liable under

the Eighth Amendment because the official’s duty is only to provide “reasonable care.” Salahuddin v.

Goord, 467 F.3d 263, 280 (2d Cir. 2006) (citing Farmer v Brennan, 511 U.S. 825, 844-47 (1994)).

Second, if the complaint alleges that no medical treatment was provided, the court will look at

whether the purported inadequacy in the medical care is “sufficiently serious.” Id. at 280. The court

will examine how the care was inadequate and what harm the inadequacy caused or will likely cause

the plaintiff. Id. (citing Helling v. McKinney, 509 U.S. 25, 32-33 (1993)).




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        In cases where the alleged inadequacy is in the medical treatment that was afforded to the

inmate, the inquiry is narrower. If the issue is an unreasonable delay or interruption of ongoing

treatment, then the “seriousness” inquiry focuses on the challenged delay itself, rather than on the

underlying condition alone. Id. (citing Smith, 316 F.3d at 185). “‘Although a delay in providing

necessary medical care may in some cases constitute deliberate indifference, [the Second Circuit] has

reserved such classification for cases in which, for example, officials deliberately delayed care as a

form of punishment, ignored a “life-threatening and fast-degenerating” condition for three days, or

delayed major surgery for over two years.’” Culp v. Koenigsmann, No. 99 CIV. 9557, 2000 WL

995495, at *7 (S.D.N.Y. July 19, 2000) (quoting Demata v. New York State Corr. Dep’t of Health

Servs., 198 F.3d 233 (2d Cir. 1999)).

        For the subjective component of a medical deliberate indifference claim, the court will

examine whether or not the official acted with a “sufficiently culpable state of mind.” Farmer, 511

U.S. at 835. The court will review whether the purported action or non-action “involved culpable

recklessness, i.e., an act or a failure to act . . . that evinces ‘a conscious disregard of a substantial risk

of serious harm.’” Chance v. Armstrong, 143 F.3d 698, 703 (2d Cir. 1998) (quoting Hathaway, 99

F.3d at 553). Deliberate indifference requires “something more than mere negligence… [but]

something less than acts or omissions for the very purpose of causing harm or with knowledge that

harm will result.” Farmer, 511 U.S. at 835. To establish the subjective component of a medical

deliberate indifference claim, the inmate must prove that: (1) a prison medical care provider was

“aware of facts from which the inference could be drawn that a substantial risk of serious harm

exists”; and, (2) that the medical provider actually drew that inference. Id. at 837. The inmate must

establish that the defendant consciously and intentionally disregarded or ignored that serious medical

need. Id. “It is well-established that mere disagreement over the proper treatment does not create

a constitutional claim. So long as the treatment is adequate, the fact that a prisoner might prefer a




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different treatment does not give rise to an Eighth Amendment violation.” Chance, 143 F.3d at

703. “[D]isagreements over medications, diagnostic techniques (e.g., the need for X-rays), forms

of treatment, or the need for specialists or the timing of their intervention, are not adequate

grounds for a Section 1983 claim.” Sonds v. St. Barnabas Hosp. Corr. Health Servs., 151 F.

Supp. 2d 303, 312 (S.D.N.Y. 2001).

       a.      Dr. Miller’s Examination Of Plaintiff On January 13, 2014 Did Not Reveal
               Any Medical Problems

       The record reveals that on January 13, 2014, Dr. Miller provided the appropriate medical

examination in light of the circumstances. Because the request for a medical examination was

made by the plaintiff’s family members, rather than through the normal SHU policy in which

plaintiff requests it from a nurse, Dr. Miller could not obtain the necessary security staff to

examine plaintiff in his cell. Miller Decl. ¶¶ 9-10; DOCCS 260. Dr. Miller, however, could see

plaintiff’s entire face and body, and was able to touch plaintiff’s face, jaw, and ribs. Miller Decl.

¶ 11; DOCCS 260. Dr. Miller’s examination revealed that plaintiff did not have any abnormal

conditions. Miller Decl. ¶ 11; DOCS 260. Accordingly, even if plaintiff had exhausted his claim

against Dr. Miller, Dr. Miller would still be entitled to summary judgment because Dr. Miller was

not deliberately indifferent to any medical need of plaintiff, let alone a serious medical need.8




8
  In any event, a mere claim of inadequate medical examination is insufficient to withstand
summary judgment. See Burgess v. Garvin, No. 01 CIV.10994 GEL, 2003 WL 21983006, at *4
(S.D.N.Y. Aug. 19, 2003) (““With respect to the subjective element, neither the claim that
[defendant] performed an inadequate examination, nor the fact that he disagreed with [plaintiff]
… creates a factual issue as to whether [defendant] was indifferent. Even if some aspect of
[defendant’s] treatment constituted malpractice (and there is no evidence of that), more would be
required for a fact-finder to find deliberate indifference….”).


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       b.      Dr. Johnson Was Not Personally Involved In Any Alleged Eighth Amendment
               Violations As She Was Not Personally Involved In Plaintiff’s Medical Care

       “[E]ach Government official, his or her title notwithstanding, is only liable for his or her

own misconduct.” Ashcroft v. Iqbal, 556 U.S. 662 (2009). Such liability must be viewed in light

of the standards in Colon v. Coughlin, 58 F.3d 865 (2d Cir. 1995).9

               The personal involvement of a supervisory defendant may be shown
               by evidence that: (1) the defendant participated directly in the
               alleged constitutional violation, (2) the defendant, after being
               informed of the violation through a report or appeal, failed to
               remedy the wrong, (3) the defendant created a policy or custom
               under which unconstitutional practices occurred, or allowed the
               continuance of such a policy or custom, (4) the defendant was
               grossly negligent in supervising subordinates who committed the
               wrongful acts, or (5) the defendant exhibited deliberate indifference
               to the rights of inmates by failing to act on information indicating
               that unconstitutional acts were occurring

Colon, 58 F.3d at 873. Even under Colon, however, the failure of a supervisory official to

investigate a letter of protest written by an inmate is not sufficient to show personal involvement.

Smart v. Goord, 441 F. Supp. 2d 631, 642-43 (S.D.N.Y. 2006). Moreover, the “general doctrine

of respondeat superior does not suffice and a showing of some personal responsibility of the

defendant is required.” Wright v. Smith, 21 F.3d 496, 501 (2d Cir. 1994) (citations omitted).

       Plaintiff cannot show the personal involvement of Dr. Johnson because the claims against

Dr. Johnson arise solely from plaintiff’s alleged letters to Dr. Johnson. Under the foregoing

authority, even if Dr. Johnson ignored plaintiff’s letters, Dr. Johnson’s actions are insufficient to

constitute personal involvement for the purposes of § 1983. For this reason alone, Dr. Johnson is

entitled to summary judgment.




9
  The Second Circuit “[a]ssum[es] arguendo that Colon … still identifies the standards for
establishing § 1983 liability of a supervisory defendant.” Doe v Whidden, 557 Fed. App’x 71, 72
(2d Cir. 2014).


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         c.      Dr. Adams Provided Plaintiff With Appropriate Medical Care

         Initially, between September 2014 and September 2016, Dr. Adams interacted with

plaintiff multiple times to address plaintiff’s myriad medical needs. Even when Dr. Adams did

not see plaintiff personally, Dr. Adams authorized medications, vaccines, and consultations for

plaintiff. See generally Adams Decl.; DOCCS at 123, 131, 137, 147, 150, 155, 158, 170, 172,

174, and 184.10 “These repeated interactions and provisions of medications belie claims of

indifference or delay.” Murray v. Ramineni, No. 08-CV-809, 2011 WL 1315777, at *20

(N.D.N.Y. Mar. 3, 2011) (citing cases).11

         As to plaintiff’s foot issues, calluses are not sufficiently serious to satisfy the objective

proving of the deliberate indifference standards. See Simmons v. Cripps, No. 12 CIV. 1061 PAC

DF, 2013 WL 1290268, at *16 (S.D.N.Y. Feb. 15, 2013) (“[P]inched nerves, sores, calluses,

bleeding heels, and back and leg problems, do not ‘offend contemporary standards of decency,’

or ‘pose an unreasonable risk of serious damage to [plaintiff’s] future health.”) (citations

omitted);12 Swindell v. Supple, No. 02CIV.3182RWS, 2005 WL 267725, at *7 (S.D.N.Y. Feb. 3,

2005) (“While fully crediting [plaintiff’s] assertions that his skin condition and calluses caused

him pain … pain when walking around the entire facility, his medical conditions are not of such

an urgent and substantially painful nature as would satisfy the objective prong of the deliberate

indifference standard.”).




10
  It should also be noted that plaintiff received treatment for myriad issues from multiple
providers throughout his incarceration at Clinton C.F., belying any claim that he did not receive
appropriate medical care at that facility. See DOCCS at 112-91.
11
     Report and recommendation adopted, 2011 WL 1257123 (N.D.N.Y. Apr. 1, 2011).
12
     Report and recommendation adopted, 2013 WL 1285417 (S.D.N.Y. Mar. 28, 2013).


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       Even if the calluses were sufficiently serious, Dr. Adams provided appropriate medical

care for that issue. On April 8, 2015, Dr. Adams personally cut away and shaved off plaintiff’s

calluses. Adams Decl. ¶ 14; DOCCS at 170. Dr. Adams did not see a need for special issue or

medical boots. Adams Decl. ¶ 14; DOCCS at 170. After plaintiff complained to Dr. Adams in

January 2016, Dr. Adams instructed plaintiff on proper care and recommended ways to remove

the excess skin. Adams Decl. ¶ 19; DOCCS 137. As to plaintiff’s alleged facial issues, Dr.

Adams examined plaintiff’s face on October 31, 2014, but did not find any gross asymmetry.

Adams Decl. ¶ 11; DOCCS 184. Moreover, even though plaintiff did not complain of pain or

disability during this examination, Dr. Adams provided pain medication as a precaution. Adams

Decl. ¶ 11; DOCCS 184.13 Although plaintiff complained of facial pain during an examination on

September 30, 2015, Dr. Adams noted that plaintiff had “full facial function, without any defects

evident on palpitation and no asymmetry of the face.” Adams Decl. ¶ 17; DOCCS at 150. Dr.

Adams then suggested a Telemed. Adams Decl. ¶ 17; DOCCS at 150. Plaintiff’s personal belief

that he should have received different treatment for his face and foot issues is insufficient to

satisfy the subjective prong of the deliberate indifference analysis.




13
  To the extent that plaintiff merely wants cosmetic surgery, the Constitution does not afford
such a right. See Chance, 143 F.3d at 702 (“A prisoner who nicks himself shaving obviously
does not have a constitutional right to cosmetic surgery.”)


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III.     DEFENDANTS ARE ENTITLED TO QUALIFIED IMMUNITY

         The doctrine of qualified immunity shields government officials from liability for civil

damages where their performance of their discretionary duties does not violate “clearly

established statutory or constitutional rights of which a reasonable person would have known.”

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). “Qualified immunity shields government

officials from civil damages liability unless the official violated a statutory or constitutional right

that was clearly established at the time of the challenged conduct.” Reichle v. Howards, 566 U.S.

658, 664 (2012) (citing Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011)). “To be clearly

established, a right must be sufficiently clear that every reasonable official would have

understood that what he is doing violates that right.” Id. (citation omitted). “When properly

applied, [qualified immunity] protects ‘all but the plainly incompetent or those who knowingly

violate the law.’“ Ashcroft, 563 U.S. at 743 (quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)).

Here, defendants actions did not violate clearly established statutory or constitutional rights of

which a reasonable person would have known. There was no reason for defendants to believe

that their actions in the performance of their duties would violate plaintiff’s clearly established

constitutional rights. Johnson Decl. ¶ 15; Adams Decl. ¶ 27; Miller Decl. ¶ 19.




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                                         CONCLUSION

       For the reasons set forth herein, this Court should grant this motion for partial summary

judgment, dismiss the claims against Defendants Miller, Adams, and Johnson, and grant such

further and other relief as the Court deems just and necessary.

Dated: Albany, New York
       June 1, 2018

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